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            9      INC., INSTAGRAM INC. and
                   INSTAGRAM LLC
         10
         11                                  UNITED STATES DISTRICT COURT
         12                                 CENTRAL DISTRICT OF CALIFORNIA
         13
         14        BLACKBERRY LIMITED,                               Case No. 2:18-CV-01844-GW
         15                           Plaintiff and Counter-         DEFENDANTS’ RESPONSE TO FIRST
                                      Defendant,                     AMENDED COMPLAINT AND
         16                                                          COUNTERCLAIMS
                            v.
         17                                                          JUDGE: Hon. George H. Wu
                   FACEBOOK, INC., WHATSAPP,
         18        INC., INSTAGRAM, INC., and                        DEMAND FOR JURY TRIAL
                   INSTAGRAM LLC,
         19
                                      Defendants and
         20                           Counter-Claimants.
         21
         22                         DEFENDANTS’ RESPONSE TO FIRST AMENDED
         23             COMPLAINT FOR PATENT INFRINGEMENT AND COUNTERCLAIMS
         24                 Defendants Facebook, Inc., WhatsApp, Inc., Instagram, Inc.,1 and Instagram,
         25            LLC (collectively, “Defendants”) hereby file their answer and affirmative defenses
         26            (“Answer”) to the First Amended Complaint (“FAC”) and counterclaims. Each of the
         27
         28        1
                       Instagram, Inc. is no longer an active corporation, but joins this Answer if necessary.
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                                                                           RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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            1      paragraphs below corresponds to the same numbered paragraphs in the FAC. In
            2      responding to the FAC, Defendants have kept Plaintiff’s headings for ease of reference,
            3      but in so doing, Defendants are not admitting to the accuracy of any statements made
            4      or agreeing with any characterizations made in such headings. Defendants deny all
            5      allegations in the FAC whether express or implied, that are not specifically admitted
            6      below. Defendants further deny that Plaintiff is entitled to the relief requested in the
            7      FAC, or to any other relief.
            8                                           SUMMARY
            9            1.    Defendants are without knowledge or information sufficient to form a
         10        belief as to the truth of the allegations in paragraph 1, and therefore deny them.
         11              2.    Defendants are without knowledge or information sufficient to form a
         12        belief as to the truth of the allegations in paragraph 2, and therefore deny them.
         13              3.    Defendants are without knowledge or information sufficient to form a
         14        belief as to the truth of the allegations in paragraph 3, and therefore deny them.
         15              4.    Defendants deny the allegations in paragraph 4.
         16              5.    Defendants are without knowledge or information sufficient to form a
         17        belief as to the truth of the allegations in paragraph 5, and therefore deny them.
         18              6.    Facebook admits that it acquired WhatsApp for approximately $19 billion
         19        dollars. Except as expressly admitted, Defendants deny the remaining allegations in
         20        paragraph 6.
         21              7.    Defendants deny the allegations in paragraph 7.
         22              8.    Defendants admit that Facebook, WhatsApp, and BlackBerry exchanged
         23        communications in 2016, but deny that BlackBerry can use its communications against
         24        Defendants as expressly agreed upon by the parties in the terms of their executed non-
         25        disclosure agreement (“NDA”). Except as expressly admitted, Defendants deny the
         26        remaining allegations in paragraph 8.
         27        ///
         28        ///
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                                                                       RESPONSE TO FIRST AMENDED COMPLAINT
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            1                            INTRODUCTION TO BLACKBERRY
            2            9.     Defendants are without knowledge or information sufficient to form a
            3      belief as to the truth of the allegations in paragraph 9, and therefore deny them.
            4            10.    Defendants are without knowledge or information sufficient to form a
            5      belief as to the truth of the allegations in paragraph 10, and therefore deny them.
            6            11.    Defendants are without knowledge or information sufficient to form a
            7      belief as to the truth of the allegations in paragraph 11, and therefore deny them.
            8            12.    Defendants are without knowledge or information sufficient to form a
            9      belief as to the truth of the allegations in paragraph 12, and therefore deny them.
         10              13.    Defendants are without knowledge or information sufficient to form a
         11        belief as to the truth of the allegations in paragraph 13, and therefore deny them.
         12              14.    Defendants deny the allegations in paragraph 14.
         13              15.    Defendants deny the allegations in paragraph 15.
         14                                    NATURE OF THE ACTION
         15              16.    Defendants admit that the FAC purports to be an action arising under the
         16        patent laws of the United States, 35 U.S.C. § 1, et seq.
         17              17.    Defendants deny the allegations in paragraph 17.
         18              18.    Defendants admit that the FAC seeks injunctive relief and monetary
         19        damages. Defendants deny that the patents-in-suit were duly and legally issued and
         20        denies that BlackBerry is entitled to injunctive relief or monetary damages. Defendants
         21        are without knowledge or information sufficient to form a belief as to the truth of the
         22        remaining allegations in paragraph 18, and therefore deny them.
         23                                            THE PARTIES
         24              19.    Defendants are without knowledge or information sufficient to form a
         25        belief as to the truth of the allegations in paragraph 19, and therefore deny them.
         26              20.    Facebook admits that it is a Delaware corporation with a principal place of
         27        business at 1601 Willow Road, Menlo Park, CA 94025. Facebook admits that it
         28        maintains offices in Los Angeles, California, operates and owns the website located at
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                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
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   PALO ALTO                                                                               2:18-CV-01844-GW
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            1      www.facebook.com in the United States, and makes available applications such as the
            2      Facebook, Facebook Messenger, Facebook Messenger Lite, Facebook Workplace Chat,
            3      and Facebook Pages Manager applications throughout the United States, including in
            4      this District. Except as expressly admitted, Defendants deny the remaining allegations
            5      in paragraph 20.
            6            21.    Defendants admit that WhatsApp is a Delaware corporation and a wholly-
            7      owned subsidiary of Facebook with a principal place of business at 1601 Willow Road,
            8      Menlo Park, CA 94025. WhatsApp admits that it operates and owns the website located
            9      at www.whatsapp.com, and makes available applications such as the WhatsApp
         10        Messenger application throughout the United States, including in this District. Except
         11        as expressly admitted, Defendants deny the remaining allegations in paragraph 21.
         12              22.    Defendants admit that Instagram, LLC is Delaware limited liability
         13        company and a wholly-owned subsidiary of Facebook with a principal place of business
         14        at 1601 Willow Road, Menlo Park, CA 94025. Instagram, Inc. is no longer an active
         15        corporation. Except as expressly admitted, Defendants deny the remaining allegations
         16        in paragraph 22.
         17              23.    Defendants deny the allegations in paragraph 23.
         18              24.    Defendants deny the allegations in paragraph 24.
         19              25.    Defendants admit that the Instagram messaging services have been
         20        migrated from third-party servers onto Facebook’s data centers. Except as expressly
         21        admitted, Defendants deny the remaining allegations in paragraph 25.
         22                                   JURISDICTION AND VENUE
         23              26.    Defendants admit that the FAC purports to be an action arising under the
         24        patent laws of the United States, 35 U.S.C. § 1, et seq.
         25              27.    Defendants admit that this Court has subject matter jurisdiction over this
         26        action pursuant to 28 U.S.C. §§ 1331 and 1338(a). Except as expressly admitted,
         27        Defendants deny the remaining allegation in paragraph 27.
         28              28.    The allegations in this paragraph state a legal conclusion to which no
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            1      response is required. To the extent a response is deemed to be required, Defendants
            2      admit that Facebook has an office in Los Angeles, CA, and has offices elsewhere in the
            3      State of California. Facebook admits that it conducts business through its website at
            4      www.facebook.com and the Facebook, Facebook Messenger, Facebook Messenger
            5      Lite, Facebook Workplace Chat, and Facebook Pages Manager software applications,
            6      which are made available in the State of California, including in this judicial district.
            7      Facebook admits that it conducts business in the State of California. Except as expressly
            8      admitted, Defendants deny the remaining allegations in paragraph 28, but for purposes
            9      of this action only, does not contest personal jurisdiction as to Facebook.
         10              29.    Defendants deny the allegations in paragraph 29.
         11              30.    The allegations in this paragraph state a legal conclusion to which no
         12        response is required. To the extent a response is deemed to be required, Defendants
         13        admit that WhatsApp conducts business through its website at www.whatsapp.com and
         14        its WhatsApp Messenger software application, which are made available in the State of
         15        California, including in this judicial district. WhatsApp admits that it conducts business
         16        in the State of California. Except as expressly admitted, Defendants deny the remaining
         17        allegations in paragraph 30, but for purposes of this action only, does not contest
         18        personal jurisdiction as to WhatsApp.
         19              31.    Defendants deny the allegations in paragraph 31.
         20              32.    The allegations in this paragraph state a legal conclusion to which no
         21        response is required. To the extent a response is deemed to be required, Defendants
         22        admit that Instagram, LLC conducts business in the State of California. Except as
         23        expressly admitted, Defendants deny the allegations in paragraph 32, but for purposes
         24        of this action only, does not contest personal jurisdiction as to Instagram.
         25              33.    Defendants deny the allegations in paragraph 33.
         26              34.    The allegations in this paragraph state a legal conclusion to which no
         27        response is required. To the extent a response is deemed to be required, Defendants
         28        deny the allegations in paragraph 34, but for purposes of this action only, do not contest
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            1      that venue is proper.
            2            35.    Facebook admits that it has an office located in Los Angeles, CA. Except
            3      as expressly admitted, Defendants deny the remaining allegations in paragraph 35.
            4            36.    Defendants admit that WhatsApp and Instagram, LLC are wholly-owned
            5      subsidiaries of Facebook. Defendants admit that Facebook does not separately report
            6      revenue from Instagram, LLC or WhatsApp Inc. in its filings to the Securities and
            7      Exchange Commission. Except as expressly admitted, Defendants deny the remaining
            8      allegations in paragraph 36.
            9            37.    Defendants admit that certain quotations cited in paragraph 37 appear on
         10        the cited help center webpages. To the extent that the allegations set forth in this
         11        paragraph purport to summarize or characterize the contents of the cited help center
         12        webpages, Defendants refer the Court to the contents of the cited help center webpages.
         13        To the extent the allegations set forth in this paragraph differ in any way from the
         14        contents of the cited help center webpages, Defendants deny every such allegation.
         15        Defendants admit that Facebook operates the Instagram service in the United States.
         16        Defendants admit that in certain circumstances, users of Instagram can post an
         17        Instagram story to Facebook from the Instagram app. Defendants admit that in some
         18        circumstances, advertisers may create a Facebook ad that includes a button allowing
         19        users to send a message to a business using WhatsApp. Defendants deny the remaining
         20        allegations in paragraph 37.
         21                                FACTS COMMON TO ALL CLAIMS
         22                    BlackBerry’s Alleged Innovation and Industry Recognition
         23              38.    Defendants are without knowledge or information sufficient to form a
         24        belief as to the truth of the allegations in paragraph 38, and therefore deny them.
         25              39.    Defendants are without knowledge or information sufficient to form a
         26        belief as to the truth of the allegations in paragraph 39, and therefore deny them.
         27              40.    Defendants are without knowledge or information sufficient to form a
         28        belief as to the truth of the allegations in paragraph 40, and therefore deny them.
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                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
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            1            41.    Defendants are without knowledge or information sufficient to form a
            2      belief as to the truth of the allegations in paragraph 41, and therefore deny them.
            3            42.    Defendants are without knowledge or information sufficient to form a
            4      belief as to the truth of the allegations in paragraph 42, and therefore deny them.
            5            43.    Defendants are without knowledge or information sufficient to form a
            6      belief as to the truth of the allegations in paragraph 43, and therefore deny them.
            7            44.    Defendants are without knowledge or information sufficient to form a
            8      belief as to the truth of the allegations in paragraph 44, and therefore deny them.
            9            45.    Defendants are without knowledge or information sufficient to form a
         10        belief as to the truth of the allegations in paragraph 45, and therefore deny them.
         11                                         BlackBerry’s Patents
         12              46.    Defendants admit that U.S. Patent No. 7,372,961 (“’961 Patent”) bears the
         13        title “Method of public key generation” and reflects an issue date of May 13, 2008.
         14        Defendants admit that Exhibit A attached to the FAC appears to be a copy of the ’961
         15        Patent. Except as expressly admitted, Defendants deny the remaining allegations in
         16        paragraph 46.
         17              47.    Defendants admit that the ’961 Patent reflects a filing date of Dec. 26,
         18        2001, as U.S. Patent Application No. 10/025,924 and purports to claim priority to
         19        Canadian Patent Application No. 2,329,590. Except as expressly admitted, Defendants
         20        deny the remaining allegations in paragraph 47.
         21              48.    Defendants are without knowledge or information sufficient to form a
         22        belief as to the truth of the allegations in paragraph 48, and therefore deny them.
         23              49.    The allegations in this paragraph state a legal conclusion to which no
         24        response is required. To the extent a response is deemed to be required, Defendants
         25        deny the validity of the ’961 Patent.
         26              50.    Defendants admit that U.S. Patent No. 8,209,634 (“’634 Patent”) bears the
         27        title “Previewing a new event on a small screen device,” and reflects an issue date of
         28        June 26, 2012. Defendants admit that Exhibit B attached to the FAC appears to be a
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            1      copy of the ’634 Patent. Except as expressly admitted, Defendants deny the remaining
            2      allegations in paragraph 50.
            3            51.    Defendants admit that the ’634 Patent reflects a filing date of Feb. 24,
            4      2004, as U.S. Patent Application No. 10/784,781, and purports to claim the benefit of
            5      U.S. Provisional Patent Application No. 60/525,958. Except as expressly admitted,
            6      Defendants deny the remaining allegations in paragraph 51.
            7            52.    Defendants are without knowledge or information sufficient to form a
            8      belief as to the truth of the allegations in paragraph 52, and therefore deny them.
            9            53.    The allegations in this paragraph state a legal conclusion to which no
         10        response is required. To the extent a response is deemed to be required, Defendants
         11        deny the validity of the ’634 Patent.
         12              54.    Defendants admit that U.S. Patent No. 8,279,173 (“’173 Patent”) bears the
         13        title “User interface for selecting a photo tag,” and reflects an issue date of Oct. 2, 2012.
         14        Defendants admit that Exhibit C attached to the FAC appears to be a copy of the ’173
         15        Patent. Except as expressly admitted, Defendants deny the remaining allegations in
         16        paragraph 54.
         17              55.    Defendants admit that the ’173 Patent reflects a filing date of Oct. 4, 2011,
         18        as U.S. Patent Application No. 13/252,807, and purports to be a continuation of U.S.
         19        Patent Application No. 11/746,285. Defendants admit that U.S. Patent Application No.
         20        11/746,285 reflects a filing date of May 9, 2007, and issued as U.S. Patent No.
         21        8,031,170. Except as expressly admitted, Defendants deny the remaining allegations in
         22        paragraph 55.
         23              56.    Defendants are without knowledge or information sufficient to form a
         24        belief as to the truth of the allegations in paragraph 56, and therefore deny them.
         25              57.    The allegations in this paragraph state a legal conclusion to which no
         26        response is required. To the extent a response is deemed to be required, Defendants
         27        deny the validity of the ’173 Patent.
         28
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            1            58.    Defendants admit that U.S. Patent No. 8,301,713 (“’713 Patent”) bears the
            2      title “Handheld electronic device and associated method providing time data in a
            3      messaging environment,” and reflects an issue date of Oct. 30, 2012. Defendants admit
            4      that Exhibit D attached to the FAC appears to be a copy of the ’713 Patent. Except as
            5      expressly admitted, Defendants deny the remaining allegations in paragraph 58.
            6            59.    Defendants admit that the ’713 Patent reflects a filing date of May 19, 2011
            7      as U.S. Patent Application No. 13/111,675, and purports to be a continuation of U.S.
            8      Patent Application No. 10/944,925. Defendants admit that U.S. Patent Application No.
            9      10/944,925 reflects a filing date of Sept. 20, 2004, and issued as U.S. Patent No.
         10        7,970,849. Defendants admit that U.S. Patent No. 7,970,849 purports to claim the
         11        benefit of U.S. Provisional Patent Application No. 60/504,379, which reflects a filing
         12        date of Sept. 19, 2003. Except as expressly admitted, Defendants deny the remaining
         13        allegations in paragraph 59.
         14              60.    Defendants are without knowledge or information sufficient to form a
         15        belief as to the truth of the allegations in paragraph 60, and therefore deny them.
         16              61.    The allegations in this paragraph state a legal conclusion to which no
         17        response is required. To the extent a response is deemed to be required, Defendants
         18        deny the validity of the ’713 Patent.
         19              62.    Defendants admit that U.S. Patent No. 8,429,236 (“’236 Patent”) bears the
         20        title “Transmission of status updates responsive to status of recipient application,” and
         21        reflects an issue date of April 23, 2013. Defendants admit that Exhibit E attached to the
         22        FAC appears to be a copy of the ’236 Patent. Except as expressly admitted, Defendants
         23        deny the remaining allegations in paragraph 62.
         24              63.    Defendants admit that the ’236 Patent reflects a filing date of Dec. 23,
         25        2009, as U.S. Patent Application No. 12/645,873, and purports to claim the benefit of
         26        U.S. Provisional Patent Application No. 61/167,772, which reflects a filing date of Apr.
         27        8, 2009. Except as expressly admitted, Defendants deny the remaining allegations in
         28        paragraph 63.
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                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
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            1            64.    Defendants are without knowledge or information sufficient to form a
            2      belief as to the truth of the allegations in paragraph 64, and therefore deny them.
            3            65.    The allegations in this paragraph state a legal conclusion to which no
            4      response is required. To the extent a response is deemed to be required, Defendants
            5      deny the validity of the ’236 Patent.
            6            66.    Defendants admit that U.S. Patent No. 8,677,250 (“’250 Patent”) bears the
            7      title “System and method for switching between an instant messaging conversation and
            8      a game in progress,” and reflects an issue date of Mar. 18, 2014. Defendants admit that
            9      Exhibit F attached to the FAC appears to be a copy of the ’250 Patent. Except as
         10        expressly admitted, Defendants deny the remaining allegations in paragraph 66.
         11              67.    Defendants admit that the ’250 Patent reflects a filing date of Dec. 7, 2010
         12        as U.S. Patent Application No. 12/962,405, and purports to be a continuation of U.S.
         13        Patent Application No. 11/537,047, which reflects a filing date of Sept. 29, 2006, and
         14        issued as U.S. Patent No. 7,861,175. Except as expressly admitted, Defendants deny
         15        the remaining allegations in paragraph 67.
         16              68.    Defendants are without knowledge or information sufficient to form a
         17        belief as to the truth of the allegations in paragraph 68, and therefore deny them.
         18              69.    The allegations in this paragraph state a legal conclusion to which no
         19        response is required. To the extent a response is deemed to be required, Defendants
         20        deny the validity of the ’250 Patent.
         21              70.    Defendants admit that U.S. Patent No. 9,349,120 (“’120 Patent”) bears the
         22        title “System and method for silencing notifications for a message thread,” and reflects
         23        an issue date of May 24, 2016. Defendants admit that Exhibit G attached to the FAC
         24        appears to be a copy of the ’120 Patent. Except as expressly admitted, Defendants deny
         25        the remaining allegations in paragraph 70.
         26              71.    Defendants admit that the ’120 Patent reflects a filing date of Feb. 26, 2010
         27        as U.S. Patent Application No. 12/713,577, and purports to claim priority to U.S.
         28        Provisional Application No. 61/167,542, which reflects a filing date of Apr. 8, 2009.
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            1      Except as expressly admitted, Defendants deny the remaining allegations in paragraph
            2      71.
            3            72.    Defendants are without knowledge or information sufficient to form a
            4      belief as to the truth of the allegations in paragraph 72, and therefore deny them.
            5            73.    The allegations in this paragraph state a legal conclusion to which no
            6      response is required. To the extent a response is deemed to be required, Defendants
            7      deny the validity of the ’120 Patent.
            8            74.    Defendants admit that U.S. Patent No. 8,296,351 (“’351 Patent”) bears the
            9      title “System and method for pushing information to a mobile device,” and reflects an
         10        issue date of Oct. 23, 2012. Defendants admit that Exhibit K attached to the FAC
         11        appears to be a copy of the ’351 Patent. Except as expressly admitted, Defendants deny
         12        the remaining allegations in paragraph 74.
         13              75.    Defendants admit that the ’351 Patent reflects a filing date of Mar. 18, 2010
         14        as U.S. Patent Application No. 12/726,405, and purports to claim priority to U.S.
         15        Provisional Application No. 60/307,265, which reflects a filing date of July 23, 2001.
         16        Except as expressly admitted, Defendants deny the remaining allegations in
         17        paragraph 75.
         18              76.    Defendants are without knowledge or information sufficient to form a
         19        belief as to the truth of the allegations in paragraph 76, and therefore deny them.
         20              77.    The allegations in this paragraph state a legal conclusion to which no
         21        response is required. To the extent a response is deemed to be required, Defendants
         22        deny the validity of the ’351 Patent.
         23              78.    Defendants admit that U.S. Patent No. 8,676,929 (“’929 Patent”) bears the
         24        title “System and method for pushing information to a mobile device,” and reflects an
         25        issue date of Mar. 18, 2014. Defendants admit that Exhibit L attached to the FAC
         26        appears to be a copy of the ’929 Patent. Except as expressly admitted, Defendants deny
         27        the remaining allegations in paragraph 78.
         28              79.    Defendants admit that the ’929 Patent reflects a filing date of Sept. 13,
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                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
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            1      2012 as U.S. Patent Application No. 13/614,884, and purports to claim priority to U.S.
            2      Provisional Application No. 60/307,265, which reflects a filing date of July 23, 2001.
            3      Except as expressly admitted, Defendants deny the remaining allegations in
            4      paragraph 79.
            5              80.   Defendants are without knowledge or information sufficient to form a
            6      belief as to the truth of the allegations in paragraph 80, and therefore deny them.
            7              81.   The allegations in this paragraph state a legal conclusion to which no
            8      response is required. To the extent a response is deemed to be required, Defendants
            9      deny the validity of the ’929 Patent.
         10               Defendants’ Alleged Use of BlackBerry’s Alleged Patented Technologies
         11                82.   Defendants admit that Facebook first released the Facebook Messenger
         12        application in August of 2011. Defendants admit that Facebook first released the Pages
         13        Manager application in 2012. Defendants admit that the first version of the WhatsApp
         14        messaging app was released in 2009. Defendants admit that the first version of the
         15        Instagram application was released in 2010. Defendants are without knowledge or
         16        information sufficient to form a belief as to the truth of the allegations in paragraph 82
         17        as they relate to BlackBerry Messenger, and therefore deny them. Defendants deny the
         18        remaining allegations in paragraph 82.
         19                83.   Defendants are without knowledge or information sufficient to form a
         20        belief as to the truth of the allegations in paragraph 83, and therefore deny them.
         21                84.   Defendants deny the allegations in paragraph 84.
         22                85.   Defendants admit that they make available the Facebook, Facebook
         23        Messenger, Facebook Messenger Lite, Facebook Workplace Chat, and Facebook Pages
         24        Manager, WhatsApp Messenger, and Instagram applications in and within the United
         25        States, including via the Apple App Store and the Google Play Store. Defendants admit
         26        they      provide    websites     at     www.facebook.com,         www.messenger.com,
         27        www.whatsapp.com, and www.instagram.com.               Except as expressly admitted,
         28        Defendants deny the remaining allegations in paragraph 85.
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                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
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            1            86.    Defendants admit that they make available the Facebook, Facebook
            2      Messenger, Facebook Messenger Lite, Facebook Workplace Chat, and Facebook Pages
            3      Manager, WhatsApp Messenger, and Instagram applications in the United States.
            4      Defendants admit that the purchase price of WhatsApp was approximately $19 billion
            5      and the purchase price of the assets of Instagram, Inc., which ceased to exist after the
            6      acquisition and whose assets were transferred to Instagram, LLC, was approximately
            7      $1 billion. Except as expressly admitted, Defendants deny the remaining allegations in
            8      paragraph 86.
            9            87.    Defendants deny the allegations in paragraph 87.
         10              88.    Defendants deny the allegations in paragraph 88.
         11           COUNT I: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 7,372,961
         12              89.    Defendants incorporate by reference their responses to each of the
         13        foregoing paragraphs.
         14                                           The ’961 Patent
         15              90.    Defendants admit that paragraph 90 includes partial quotations from the
         16        ’961 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         17        in paragraph 90.
         18              91.    Defendants admit that paragraph 91 includes partial quotations and
         19        summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
         20        deny the remaining allegations in paragraph 91.
         21              92.    Defendants admit that paragraph 92 includes partial quotations from the
         22        ’961 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         23        in paragraph 92.
         24              93.    Defendants admit that paragraph 93 includes partial quotations and
         25        summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
         26        deny the remaining allegations in paragraph 93.
         27              94.    Defendants admit that paragraph 94 includes partial quotations and
         28        summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
  COOLEY LLP
                                                                       RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                            13
   PALO ALTO                                                                              2:18-CV-01844-GW
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            1      deny the remaining allegations in paragraph 94.
            2            95.   Defendants admit that paragraph 95 includes partial quotations and
            3      summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
            4      deny the remaining allegations in paragraph 95.
            5            96.   Defendants admit that paragraph 96 includes partial quotations and
            6      summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
            7      deny the remaining allegations in paragraph 96.
            8            97.   Defendants admit that paragraph 97 includes partial quotations and
            9      summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
         10        deny the remaining allegations in paragraph 97.
         11              98.   Defendants admit that paragraph 98 includes partial quotations and
         12        summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
         13        deny the remaining allegations in paragraph 98.
         14              99.   Defendants admit that paragraph 99 includes partial quotations and
         15        summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
         16        deny the remaining allegations in paragraph 99.
         17              100. Defendants admit that paragraph 100 includes partial quotations and
         18        summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
         19        deny the remaining allegations in paragraph 100.
         20              101. Defendants admit that paragraph 101 includes partial quotations and
         21        summarized statements from the ’961 Patent. Except as expressly admitted, Defendants
         22        deny the remaining allegations in paragraph 101.
         23              102. Defendants deny the allegations in paragraph 102.
         24                     The Alleged Inventions Claimed in the ’961 Patent Were
         25                    Allegedly Not Well-Understood, Routine, or Conventional
         26              103. Defendants deny the allegations in paragraph 103.
         27              104. Defendants admit that paragraph 104 includes a partial quotation from 44
         28        U.S.C. § 3541.     Except as expressly admitted, Defendants deny the remaining
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                             2:18-CV-01844-GW
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            1      allegations in paragraph 104.
            2            105. Defendants admit that paragraph 105 includes partial quotations from 44
            3      U.S.C. § 3541.      Except as expressly admitted, Defendants deny the remaining
            4      allegations in paragraph 105.
            5            106. Defendants deny that the NIST web site cited in footnote 20 includes the
            6      citation quoted in paragraph 106, when visited on September 4, 2018. Defendants are
            7      without knowledge or information sufficient to form a belief as to the truth of the
            8      remaining allegations in paragraph 106, and therefore deny them.
            9            107. Defendants admit that the FIPS 186-2 standard states that it “prescribes
         10        three algorithms suitable for digital signature (ds) generation and verification.” FIPS
         11        PUB 186-2, at Introduction (January 27, 2000). Defendants deny that the FIPS PUB
         12        186-2, dated January 27, 2000, and cited in footnote 21, includes the language, “the
         13        Digital Signature Algorithm (DSA) is a Federal Information Processing Standard for
         14        digital signatures. It was proposed by the National Institute of Standards and
         15        Technology (NIST) in August 1991 for use in their Digital Signature Standard (DSS)
         16        and adopted as FIPS 186 in 1993.” Defendants admit that the FIPS PUB 186-2, dated
         17        January 27, 2000, and cited in footnote 21, includes the language “This standard
         18        specifies a suite of algorithms which can be used to generate a digital signature. Digital
         19        signatures are used to detect unauthorized modifications to data and to authenticate the
         20        identity of the signatory. In addition, the recipient of signed data can use a digital
         21        signature in proving to a third party that the signature was in fact generated by the
         22        signatory. This is known as nonrepudiation since the signatory cannot, at a later time,
         23        repudiate the signature.” Except as expressly admitted, Defendants deny the remaining
         24        allegations in paragraph 107.
         25              108. Defendants are without knowledge or information sufficient to form a
         26        belief as to the truth of the allegations in paragraph 108, and therefore deny them.
         27              109. Defendants deny that the ’961 Patent, at 2:56-59, includes the language,
         28        “introduce[d] sufficient bias in to the selection of k that an examination of 222 signatures
  COOLEY LLP
                                                                         RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                                2:18-CV-01844-GW
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            1      could yield the private key d in 264 steps using 240 memory units,” at 2:56-59. The
            2      ’961 Patent states: “Recent work by Daniel Bleichenbacher suggests that the modular
            3      reduction to obtain k introduces sufficient bias in to the selection of k that an
            4      examination of 222 signatures could yield the private key d in 264 steps using 240 memory
            5      units.” ’961 Patent, 2:56-59.      Defendants are without knowledge or information
            6      sufficient to form a belief as to the truth of the remaining allegations in paragraph 109,
            7      and therefore deny them.
            8            110. Defendants are unable to access the web site cited in the footnote to
            9      paragraph 110, as of September 4, 2018, and therefore are without knowledge or
         10        information sufficient to form a belief as to the truth of the allegations in paragraph 110,
         11        and therefore deny them. Defendants are without knowledge or information sufficient
         12        to form a belief as to the truth of the remaining allegations in paragraph 110, and
         13        therefore deny them.
         14              111. Defendants are without knowledge or information sufficient to form a
         15        belief as to the truth of the allegations in paragraph 111, and therefore deny them.
         16              112. Defendants deny the allegations in paragraph 112.
         17              113. Defendants admit that paragraph 113 includes partial quotations and
         18        summarized statements from the ’961 Patent. Defendants deny the remaining
         19        allegations in paragraph 113.
         20              114. Defendants deny the allegations in paragraph 114.
         21              115. Defendants deny the allegations in paragraph 115.
         22              116. Defendants admit that certain claims of the ’961 patent recite a “random
         23        number generator” in relation to “generating a seed value,” a “cryptographic unit,” and
         24        an “arithmetic processor.” Defendants deny the remaining allegations in paragraph 116.
         25              117. Defendants deny the allegations in paragraph 117.
         26                                        ’961 Patent Allegations
         27              118. Defendants deny the allegations in paragraph 118.
         28              119. Defendants deny the allegations in paragraph 119.
  COOLEY LLP
                                                                         RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                              16
   PALO ALTO                                                                                2:18-CV-01844-GW
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            1            120. Defendants deny the allegations in paragraph 120.
            2            121. Defendants deny the allegations in paragraph 121, and note that the Court
            3      has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
            4            122. Defendants admit that they have had knowledge of the ’961 Patent since
            5      receiving the Complaint. Defendants admit that Facebook, WhatsApp, and BlackBerry
            6      exchanged communications in 2016, but deny that BlackBerry can use these
            7      communications against Defendants as expressly agreed upon by the parties in the terms
            8      of their executed NDA. Except as expressly admitted, Defendants deny the remaining
            9      allegations in paragraph 122, and note that the Court has dismissed BlackBerry’s pre-
         10        suit indirect infringement claims. (ECF No. 68.)
         11              123. Defendants admit that versions of the Facebook Messenger software
         12        applications are made available to users, and that Facebook makes available instructions
         13        related to various aspects of the application. Except as expressly admitted, Defendants
         14        deny the remaining allegations in paragraph 123, and note that the Court has dismissed
         15        BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         16              124. Defendants deny the allegations in paragraph 124, and note that the Court
         17        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         18              125. Defendants admit that versions of the Facebook Messenger software
         19        applications are made available to users, including through the Apple App Store and the
         20        Google Play Store, and that Facebook makes available instructions related to various
         21        aspects of the application.    Except as expressly admitted, Defendants deny the
         22        remaining allegations in paragraph 125, and note that the Court has dismissed
         23        BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         24              126. Defendants deny the allegations in paragraph 126, and note that the Court
         25        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         26              127. Defendants deny the allegations in paragraph 127, and note that the Court
         27        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         28              128. Defendants deny the allegations in paragraph 128, and note that the Court
  COOLEY LLP
                                                                       RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                            17
   PALO ALTO                                                                              2:18-CV-01844-GW
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            1      has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
            2            129. Defendants deny the allegations in paragraph 129, and note that the Court
            3      has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
            4      claims. (ECF No. 68.)
            5            130. Defendants deny the allegations in paragraph 130, and note that the Court
            6      has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
            7            131. Defendants deny the allegations in paragraph 131.
            8            132. Defendants deny the allegations in paragraph 132.
            9        COUNT II: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,209,634
         10              133. Defendants incorporate by reference their responses to each of the
         11        foregoing paragraphs.
         12                                          The ’634 Patent
         13              134. Defendants admit that paragraph 134 includes partial quotations from the
         14        ’634 Patent’s Abstract. Except as expressly admitted, Defendants deny the remaining
         15        allegations in paragraph 134.
         16              135. Defendants admit that paragraph 135 includes partial quotations from the
         17        ’634 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         18        in paragraph 135.
         19              136. Defendants admit that paragraph 136 appears to reproduce Figure 7 from
         20        the ’634 Patent, and also includes partial quotations and summarized statements from
         21        the ’634 Patent.    Except as expressly admitted, Defendants deny the remaining
         22        allegations in paragraph 136.
         23              137. Defendants admit that paragraph 137 appears to quote Claim 1 the ’634
         24        Patent. Except as expressly admitted, Defendants deny the remaining allegations in
         25        paragraph 137.
         26                     The Alleged Inventions Claimed in the ’634 Patent Were
         27                    Allegedly Not Well-Understood, Routine, or Conventional
         28              138. Defendants deny the allegations in paragraph 138.
  COOLEY LLP
                                                                     RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                            2:18-CV-01844-GW
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            1            139. Defendants admit that paragraph 139 includes partial quotations and
            2      summarized statements from the ’634 Patent. Except as expressly admitted, Defendants
            3      deny the remaining allegations in paragraph 139.
            4            140. Defendants admit that paragraph 140 includes partial quotations from the
            5      claims of ’634 Patent. Except as expressly admitted, Defendants deny the remaining
            6      allegations in paragraph 140.
            7            141. Defendants deny the allegations in paragraph 141.
            8            142. Defendants deny the allegations in paragraph 142.
            9            143. Defendants deny the allegations in paragraph 143.
         10                                        ’634 Patent Allegations
         11              144. Defendants deny the allegations in paragraph 144.
         12              145. Defendants deny the allegations in paragraph 145.
         13              146. Defendants deny the allegations in paragraph 146.
         14              147. Defendants deny the allegations in paragraph 147.
         15              148. Defendants deny the allegations in paragraph 148, and note that the Court
         16        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.).
         17              149. Defendants admit that they have had knowledge of the ’634 patent since
         18        receiving the Complaint. Defendants admit that Facebook, WhatsApp, and BlackBerry
         19        exchanged communications in 2016, but deny that BlackBerry can use these
         20        communications against Defendants as expressly agreed upon by the parties in the terms
         21        of their executed NDA. Except as expressly admitted, Defendants deny the remaining
         22        allegations in paragraph 149, and note that the Court has dismissed BlackBerry’s pre-
         23        suit indirect infringement claims. (ECF No. 68.).
         24              150. Defendants admit that versions of Facebook, Facebook Messenger,
         25        Facebook Workplace Chat, Facebook Pages Manager, WhatsApp, and Instagram
         26        software applications are made available to users, and that Defendants make available
         27        instructions related to various aspects of the applications. Except as expressly admitted,
         28        Defendants deny the remaining allegations in paragraph 150, and note that the Court
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                               2:18-CV-01844-GW
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            1      has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
            2            151. Defendants deny the allegations in paragraph 151, and note that the Court
            3      has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
            4            152. Defendants admit that versions of Facebook, Facebook Messenger,
            5      Facebook Workplace Chat, Facebook Pages Manager, WhatsApp, and Instagram
            6      software applications are made available to users, including via the Apple App Store,
            7      and that Defendants make available instructions related to various aspects of the
            8      applications. Except as expressly admitted, Defendants deny the remaining allegations
            9      in paragraph 152, and note that the Court has dismissed BlackBerry’s pre-suit indirect
         10        infringement claims. (ECF No. 68.)
         11              153. Defendants deny the allegations in paragraph 153, and note that the Court
         12        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         13              154. Defendants deny the allegations in paragraph 154, and note that the Court
         14        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         15              155. Defendants deny the allegations in paragraph 155, and note that the Court
         16        has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
         17        claims. (ECF No. 68.)
         18              156. Defendants deny the allegations in paragraph 156, and note that the Court
         19        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         20              157. Defendants deny the allegations in paragraph 157, and note that the Court
         21        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         22              158. Defendants deny the allegations in paragraph 158.
         23              159. Defendants deny the allegations in paragraph 159.
         24          COUNT III: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,279,173
         25              160. Defendants incorporate by reference their responses in the foregoing
         26        paragraphs.
         27        ///
         28        ///
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                           20
   PALO ALTO                                                                             2:18-CV-01844-GW
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            1                                        The ’173 Patent
            2            161. Defendants admit that paragraph 161 includes partial quotations from the
            3      ’173 Patent’s Abstract. Except as expressly admitted, Defendants deny the remaining
            4      allegations in paragraph 161.
            5            162. Defendants admit that paragraph 162 includes partial quotations from the
            6      ’173 Patent. Except as expressly admitted, Defendants deny the remaining allegations
            7      in paragraph 162.
            8            163. Defendants admit that paragraph 163 appears to reproduce Figure 3A from
            9      the ’173 Patent, and also includes partial quotations from the ’173 Patent. Except as
         10        expressly admitted, Defendants deny the remaining allegations in paragraph 163.
         11              164. Defendants admit that paragraph 164 appears to reproduce Figures 4A and
         12        4B from the ’173 Patent, and also includes a quotation from the ’173 Patent. Except as
         13        expressly admitted, Defendants deny the remaining allegations in paragraph 164.
         14              165. Defendants admit that paragraph 165 includes a partial quotation from
         15        Claim 1 of the ’173 Patent. Except as expressly admitted, Defendants deny the
         16        remaining allegations in paragraph 165.
         17                     The Alleged Inventions Claimed in the ’173 Patent Were
         18                    Allegedly Not Well-Understood, Routine, or Conventional
         19              166. Defendants deny the allegations in paragraph 166.
         20              167. Defendants admit that paragraph 167 includes partial quotations from the
         21        ’173 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         22        in paragraph 167.
         23              168. Defendants admit that the ’173 Patent includes images that appear to be
         24        screenshots that include the term “facebook” on them. Except as expressly admitted,
         25        Defendants deny the remaining allegations in paragraph 168.
         26              169. Defendants admit that paragraph 169 includes partial quotations from the
         27        claims of the ’173 Patent. Except as expressly admitted, Defendants deny the remaining
         28        allegations in paragraph 169.
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             21
   PALO ALTO                                                                             2:18-CV-01844-GW
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            1            170. Defendants deny the allegations in paragraph 170.
            2            171. Defendants admit that certain claims of the ’173 Patent reference a “search
            3      string,” “tag type indicators,” “a tag list including tags from one or more tag sources,”
            4      and a “tag entry field.” Except as expressly admitted, Defendants deny the remaining
            5      allegations in paragraph 171.
            6            172. Defendants deny the allegations in paragraph 172.
            7                                      ’173 Patent Allegations
            8            173. Defendants deny the allegations in paragraph 173.
            9            174. Defendants deny the allegations in paragraph 174.
         10              175. Defendants deny the allegations in paragraph 175.
         11              176. Defendants deny the allegations in paragraph 176, and note that the Court
         12        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         13              177. Defendants admit that they have had knowledge of the ’173 patent since
         14        receiving the Complaint. Except as expressly admitted, Defendants deny the remaining
         15        allegations in paragraph 177, and note that the Court has dismissed BlackBerry’s pre-
         16        suit indirect infringement claims. (ECF No. 68.)
         17              178. Defendants admit that the website located at www.facebook.com and
         18        versions of the Instagram software application are made available to users, and that
         19        Defendants make available instructions related to various aspects of the website and
         20        application. Defendants admit that on March 7, 2014, the USPTO issued a “Notice of
         21        References Cited” in the examination of U.S. Patent Application No. 13/117,888 to
         22        Facebook that lists U.S. Patent No. 8,279,173 among a number of references.
         23        Defendants admit that on March 21, 2014, the USPTO issued a “Notice of References
         24        Cited” in the examination of U.S. Patent Application No. 13/117,617 to Facebook that
         25        lists U.S. Patent No. 8,279,173 among a number of references. Defendants admit that
         26        on April 24, 2014, the USPTO issued a “Notice of References Cited” in the examination
         27        of U.S. Patent Application No. 13/092,443 to Facebook that lists U.S. Patent No.
         28        8,279,173 among a number of references. Except as expressly admitted, Defendants
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                               2:18-CV-01844-GW
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            1      deny the remaining allegations in paragraph 178, and note that the Court has dismissed
            2      BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
            3            179. Defendants deny the allegations in paragraph 179, and note that the Court
            4      has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
            5            180. Defendants admit that the website located at www.facebook.com and
            6      versions of the Instagram software application are made available to users, and that
            7      Defendants make available instructions related to various aspects of the website and
            8      application. Except as expressly admitted, Defendants deny the remaining allegations
            9      in paragraph 180, and note that the Court has dismissed BlackBerry’s pre-suit indirect
         10        infringement claims. (ECF No. 68.)
         11              181. Defendants deny the allegations in paragraph 181, and note that the Court
         12        has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
         13        claims. (ECF No. 68.)
         14              182. Defendants deny the allegations in paragraph 182, and note that the Court
         15        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         16              183. Defendants deny the allegations in paragraph 183, and note that the Court
         17        has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
         18        claims. (ECF No. 68.)
         19              184. Defendants deny the allegations in paragraph 184, and note that the Court
         20        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         21              185. Defendants deny the allegations in paragraph 185, and note that the Court
         22        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         23              186. Defendants deny the allegations in paragraph 186.
         24              187. Defendants deny the allegations in paragraph 187.
         25          COUNT IV: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,301,713
         26              188. Defendants incorporate by reference their responses in the foregoing
         27        paragraphs.
         28
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                             2:18-CV-01844-GW
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            1                                         The ’713 Patent
            2            189. Defendants admit that paragraph 189 includes partial quotations from the
            3      ’713 Patent’s Abstract. Except as expressly admitted, Defendants deny the remaining
            4      allegations in paragraph 189.
            5            190. Defendants admit that paragraph 190 includes partial quotations from the
            6      ’713 Patent. Except as expressly admitted, Defendants deny the remaining allegations
            7      in paragraph 190.
            8            191. Defendants admit that paragraph 191 appears to reproduce Figures 4 and 5
            9      from the ’713 Patent, and also includes partial quotations from the ’713 Patent.
         10        Except as expressly admitted, Defendants deny the remaining allegations in
         11        paragraph 191.
         12              192. Defendants admit that paragraph 192 includes a quotation from Claim 1 of
         13        the ’713 Patent.    Except as expressly admitted, Defendants deny the remaining
         14        allegations in paragraph 192.
         15                     The Alleged Inventions Claimed in the ’713 Patent Were
         16                    Allegedly Not Well-Understood, Routine, or Conventional
         17              193. Defendants deny the allegations in paragraph 193, and note that the Court
         18        has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF
         19        No. 68.)
         20              194. Defendants admit that paragraph 194 includes partial quotations from the
         21        ’713 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         22        in paragraph 194, and note that the Court has found Claims 1, 5, and 9 of the ’713 Patent
         23        invalid under 35 U.S.C. § 101. (ECF No. 68.)
         24              195. Defendants admit that paragraph 195 includes partial quotations from the
         25        ’713 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         26        in paragraph 195, and note that the Court has found Claims 1, 5, and 9 of the ’713 Patent
         27        invalid under 35 U.S.C. § 101. (ECF No. 68.)
         28
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             24
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1            196. Defendants deny the allegations in paragraph 196, and note that the Court
            2      has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF
            3      No. 68.)
            4            197. Defendants deny the allegations in paragraph 197, and note that the Court
            5      has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF
            6      No. 68.)
            7            198. Defendants admit that certain claims of the ’713 Patent reference an
            8      “electronic device,” an “electronic conversation,” “a messaging communication
            9      between the electronic device and a second electronic device,” and a “display.” Except
         10        as expressly admitted, Defendants deny the remaining allegations in paragraph 198, and
         11        note that the Court has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35
         12        U.S.C. § 101. (ECF No. 68.)
         13              199. Defendants deny the allegations in paragraph 199, and note that the Court
         14        has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF
         15        No. 68.)
         16                                      ’713 Patent Allegations
         17              200. Defendants deny the allegations in paragraph 200, and note that the Court
         18        has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF
         19        No. 68.)
         20              201. Defendants deny the allegations in paragraph 201, and note that the Court
         21        has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF
         22        No. 68.)
         23              202. Defendants deny the allegations in paragraph 202, and note that the Court
         24        has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF
         25        No. 68.)
         26              203. Defendants deny the allegations in paragraph 203, and note that the Court
         27        has dismissed BlackBerry’s pre-suit indirect infringement claims and has found Claims
         28        1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF No. 68.)
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                           25
   PALO ALTO                                                                             2:18-CV-01844-GW
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            1             204. Defendants admit that they have had knowledge of the ’713 Patent since
            2      receiving the Complaint. Except as expressly admitted, Defendants deny the remaining
            3      allegations in paragraph 204, and note that the Court has dismissed BlackBerry’s pre-
            4      suit indirect infringement claims and has found Claims 1, 5, and 9 of the ’713 Patent
            5      invalid under 35 U.S.C. § 101. (ECF No. 68.)
            6             205. Defendants admit that versions of Facebook Messenger, Facebook
            7      Messenger Lite, Facebook Pages Manager, Facebook Workplace Chat, WhatsApp, and
            8      Instagram software applications are made available to users, and that Defendants make
            9      available instructions related to various aspects of the applications. Except as expressly
         10        admitted, Defendants deny the remaining allegations in paragraph 205, and note that
         11        the Court has dismissed BlackBerry’s pre-suit indirect infringement claims and has
         12        found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF No.
         13        68.)
         14               206. Defendants deny the allegations in paragraph 206, and note that the Court
         15        has dismissed BlackBerry’s pre-suit indirect infringement claims and has found Claims
         16        1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF No. 68.)
         17               207. Defendants admit that versions of Facebook Messenger, Facebook
         18        Messenger Lite, Facebook Pages Manager, Facebook Workplace Chat, WhatsApp, and
         19        Instagram software applications are made available to users, including through the
         20        Apple App Store, and that Defendants make available instructions related to various
         21        aspects of the applications. Except as expressly admitted, Defendants deny the
         22        remaining allegations in paragraph 207, and note that the Court has dismissed
         23        BlackBerry’s pre-suit indirect infringement claims and has found Claims 1, 5, and 9 of
         24        the ’713 Patent invalid under 35 U.S.C. § 101. (ECF No. 68.)
         25               208. Defendants deny the allegations in paragraph 208, and note that the Court
         26        has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
         27        claims, and has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. §
         28        101. (ECF No. 68.)
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             26
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1            209. Defendants deny the allegations in paragraph 209, and note that the Court
            2      has dismissed BlackBerry’s pre-suit indirect infringement claims and has found Claims
            3      1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF No. 68.)
            4            210. Defendants deny the allegations in paragraph 210, and note that the Court
            5      has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
            6      claims and has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. §
            7      101. (ECF No. 68.)
            8            211. Defendants deny the allegations in paragraph 211, and note that the Court
            9      has dismissed BlackBerry’s claims for willful infringement and has found Claims 1, 5,
         10        and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF No. 68.)
         11              212. Defendants deny the allegations in paragraph 212, and note that the Court
         12        has dismissed BlackBerry’s claims for willful infringement and has found Claims 1, 5,
         13        and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF No. 68.)
         14              213. Defendants deny the allegations in paragraph 213, and note that the Court
         15        has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF
         16        No. 68.)
         17              214. Defendants deny the allegations in paragraph 214, and note that the Court
         18        has found Claims 1, 5, and 9 of the ’713 Patent invalid under 35 U.S.C. § 101. (ECF
         19        No. 68.)
         20          COUNT V: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,429,236
         21              215. Defendants incorporate by reference their responses in the foregoing
         22        paragraphs.
         23                                          The ’236 Patent
         24              216. Defendants admit that paragraph 216 includes partial quotations from the
         25        ’236 Patent’s Abstract. Except as expressly admitted, Defendants deny the remaining
         26        allegations in paragraph 216.
         27              217. Defendants admit that paragraph 217 includes partial quotations from the
         28        ’236 Patent. Except as expressly admitted, Defendants deny the remaining allegations
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                             2:18-CV-01844-GW
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            1      in paragraph 217.
            2            218. Defendants admit that paragraph 218 includes partial quotations and
            3      summarized statements from the ’236 Patent. Except as expressly admitted, Defendants
            4      deny the remaining allegations in paragraph 218.
            5            219. Defendants admit that paragraph 219 includes a quotation from the ’236
            6      Patent. Except as expressly admitted, Defendants deny the remaining allegations in
            7      paragraph 219.
            8            220. Defendants admit that paragraph 220 appears to reproduce Figures 2 and
            9      3 from the ’236 Patent, and also includes partial quotations and summarized statements
         10        from the ’236 Patent. Except as expressly admitted, Defendants deny the remaining
         11        allegations in paragraph 220.
         12              221. Defendants admit that paragraph 221 includes a quotation from Claim 1 of
         13        the ’236 Patent.    Except as expressly admitted, Defendants deny the remaining
         14        allegations in paragraph 221.
         15                     The Alleged Inventions Claimed in the ’236 Patent Were
         16                    Allegedly Not Well-Understood, Routine, or Conventional
         17              222. Defendants deny the allegations in paragraph 222.
         18              223. Defendants admit that paragraph 223 includes partial quotations from the
         19        ’236 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         20        in paragraph 223.
         21              224. Defendants admit that paragraph 224 includes summarized statements
         22        from the ’236 Patent. Except as expressly admitted, Defendants deny the remaining
         23        allegations in paragraph 224.
         24              225. Defendants admit that paragraph 225 includes partial quotations from the
         25        claims of the ‘237 Patent. Except as expressly admitted, Defendants deny the remaining
         26        allegations in paragraph 225.
         27              226. Defendants deny the allegations in paragraph 226.
         28              227. Defendants admit that various claims of the ’236 Patent recite a “mobile
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                             2:18-CV-01844-GW
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            1      communications device,” a “first transmission mode,” a “second transmission mode,” a
            2      “mode selector,” and a “message generator.” Except as expressly admitted, Defendants
            3      deny the remaining allegations in paragraph 227.
            4             228. Defendants deny the allegations in paragraph 228.
            5                                      ’236 Patent Allegations
            6             229. Defendants deny the allegations in paragraph 229.
            7             230. Defendants deny the allegations in paragraph 230.
            8             231. Defendants deny the allegations in paragraph 231.
            9             232. Defendants deny the allegations in paragraph 232.
         10               233. Defendants deny the allegations in paragraph 233, and note that the Court
         11        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68).
         12               234. Defendants admit that they have had knowledge of the ’236 patent since
         13        receiving the Complaint. Except as expressly admitted, Defendants deny the remaining
         14        allegations in paragraph 234, and note that the Court has dismissed BlackBerry’s pre-
         15        suit indirect infringement claims. (ECF No. 68.)
         16               235. Defendants admit that versions of the Facebook Messenger and WhatsApp
         17        Messenger software applications are made available to users, and that Defendants make
         18        available instructions related to various aspects of the applications. Except as expressly
         19        admitted, Defendants deny the remaining allegations in paragraph 235, and note that
         20        the Court has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No.
         21        68.)
         22               236. Defendants deny the allegations in paragraph 236, and note that the Court
         23        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         24               237. Defendants admit that versions of the Facebook Messenger and WhatsApp
         25        Messenger software applications are made available to users, including through the
         26        Apple App Store, and that Defendants make available instructions related to various
         27        aspects of the applications.    Except as expressly admitted, Defendants deny the
         28        remaining allegations in paragraph 237, and note that the Court has dismissed
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                               2:18-CV-01844-GW
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            1      BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
            2            238. Defendants deny the allegations in paragraph 238, and note that the Court
            3      has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
            4      claims. (ECF No. 68.)
            5            239. Defendants deny the allegations in paragraph 239, and note that the Court
            6      has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
            7            240. Defendants deny the allegations in paragraph 240 and note that the Court
            8      has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
            9      claims. (ECF No. 68.)
         10              241. Defendants deny the allegations in paragraph 241, and note that the Court
         11        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         12              242. Defendants deny the allegations in paragraph 242, and note that the Court
         13        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         14              243. Defendants deny the allegations in paragraph 243.
         15              244. Defendants deny the allegations in paragraph 244.
         16          COUNT VI: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,677,250
         17              245. Defendants incorporate by reference their responses in the foregoing
         18        paragraphs.
         19                                          The ’250 Patent
         20              246. Defendants admit that paragraph 246 includes partial quotations from the
         21        ’250 Patent’s Abstract. Except as expressly admitted, Defendants deny the remaining
         22        allegations in paragraph 246.
         23              247. Defendants admit that paragraph 247 includes partial quotations from the
         24        ’250 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         25        in paragraph 247.
         26              248. Defendants admit that paragraph 248 includes partial quotations from the
         27        ’250 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         28        in paragraph 248.
  COOLEY LLP
                                                                     RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                            2:18-CV-01844-GW
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            1            249. Defendants admit that paragraph 249 appears to reproduce Figure 7B from
            2      the ’250 Patent, and also includes partial quotations from the ’250 Patent. Except as
            3      expressly admitted, Defendants deny the remaining allegations in paragraph 249.
            4            250. Defendants admit that paragraph 250 appears to reproduce Figure 5B from
            5      the ’250 Patent, and also includes partial quotations from the ’250 Patent. Except as
            6      expressly admitted, Defendants deny the remaining allegations in paragraph 250.
            7            251. Defendants admit that paragraph 251 includes a quotation from Claim 1 of
            8      the ’250 Patent.    Except as expressly admitted, Defendants deny the remaining
            9      allegations in paragraph 251.
         10                     The Alleged Inventions Claimed in the ’250 Patent Were
         11                      Alleged Not Well-Understood, Routine, or Conventional
         12              252. Defendants deny the allegations in paragraph 252.
         13              253. Defendants admit that paragraph 253 includes partial quotations from the
         14        ’250 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         15        in paragraph 253.
         16              254. Defendants admit that various claims of the ’250 Patent recite “enabling a
         17        game application to utilize a contact list for an instant messaging application,”
         18        “preparing game messages,” a “game in progress user interface,” and “detecting a
         19        selection in the instant messaging conversation user interface.” Except as expressly
         20        admitted, Defendants deny the remaining allegations in paragraph 254.
         21              255. Defendants deny the allegations in paragraph 255.
         22              256. Defendants deny the allegations in paragraph 256.
         23              257. Defendants admit that certain claims of the ’250 Patent recite an
         24        “electronic device,” “a game application on the electronic device,” “a contact list for an
         25        instant messaging application,” “an instant messaging message,” “an instant messaging
         26        conversation user interface,” and “a game in progress user interface.” Except as
         27        expressly admitted, Defendants deny the remaining allegations in paragraph 257.
         28
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                               2:18-CV-01844-GW
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            1            258. Defendants deny the allegations in paragraph 258.
            2                                     ’250 Patent Allegations
            3            259. Defendants deny the allegations in paragraph 259.
            4            260. Defendants deny the allegations in paragraph 260.
            5            261. Defendants deny the allegations in paragraph 261.
            6            262. Defendants deny the allegations in paragraph 262, and note that the Court
            7      has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68).
            8            263. Defendants admit that they have had knowledge of the ’250 patent since
            9      receiving the Complaint. Except as expressly admitted, Defendants deny the remaining
         10        allegations in paragraph 263, and note that the Court has dismissed BlackBerry’s pre-
         11        suit indirect infringement claims. (ECF No. 68.)
         12              264. Defendants admit that the website located at www.facebook.com and
         13        versions of the Facebook Messenger software application are made available to users,
         14        and that Defendants make available instructions related to various aspects of the
         15        applications. Except as expressly admitted, Defendants deny the remaining allegations
         16        in paragraph 264, and note that the Court has dismissed BlackBerry’s pre-suit indirect
         17        infringement claims. (ECF No. 68.)
         18              265. Defendants deny the allegations in paragraph 265, and note that the Court
         19        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         20              266. Defendants admit that the website located at www.facebook.com and
         21        versions of the Facebook Messenger software application are made available to users,
         22        including through the Apple App Store, and that Defendants make available instructions
         23        related to various aspects of the applications. Except as expressly admitted, Defendants
         24        deny the remaining allegations in paragraph 266, and note that the Court has dismissed
         25        BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         26              267. Defendants deny the allegations in paragraph 267, and note that the Court
         27        has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
         28        claims. (ECF No. 68.)
  COOLEY LLP
                                                                       RESPONSE TO FIRST AMENDED COMPLAINT
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   PALO ALTO                                                                              2:18-CV-01844-GW
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            1            268. Defendants deny the allegations in paragraph 268, and note that the Court
            2      has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
            3            269. Defendants deny the allegations in paragraph 269, and note that the Court
            4      has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
            5      claims. (ECF No. 68.)
            6            270. Defendants deny the allegations in paragraph 270, and note that the Court
            7      has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
            8            271. Defendants deny the allegations in paragraph 271, and note that the Court
            9      has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         10              272. Defendants deny the allegations in paragraph 272.
         11              273. Defendants deny the allegations in paragraph 273.
         12         COUNT VII: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 9,349,120
         13              274. Defendants incorporate by reference their responses in the foregoing
         14        paragraphs.
         15                                          The ’120 Patent
         16              275. Defendants admit that paragraph 275 includes partial quotations from the
         17        ’120 Patent’s Abstract. Except as expressly admitted, Defendants deny the remaining
         18        allegations in paragraph 275.
         19              276. Defendants admit that paragraph 276 includes partial quotations from the
         20        ’120 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         21        in paragraph 276.
         22              277. Defendants admit that paragraph 277 appears to reproduce Figure 5 from
         23        the ’120 Patent, and also includes partial quotations and summarized statements from
         24        the ’120 Patent.    Except as expressly admitted, Defendants deny the remaining
         25        allegations in paragraph 277.
         26              278. Defendants admit that paragraph 278 appears to reproduce Figure 6 from
         27        the ‘120 Patent, and also includes partial quotations from the ’120 Patent. Except as
         28        expressly admitted, Defendants deny the remaining allegations in paragraph 278.
  COOLEY LLP
                                                                     RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                           33
   PALO ALTO                                                                            2:18-CV-01844-GW
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            1            279. Defendants admit that paragraph 279 includes a quotation from Claim 13
            2      of the ’120 Patent. Except as expressly admitted, Defendants deny the remaining
            3      allegations in paragraph 279.
            4                   The Alleged Inventions Claimed in the ’120 Patent Were
            5                   Alleged Not Well-Understood, Routine, or Conventional
            6            280. Defendants deny the allegations in paragraph 280.
            7            281. Defendants admit that paragraph 281 includes partial quotations from the
            8      ’120 Patent. Except as expressly admitted, Defendants deny the remaining allegations
            9      in paragraph 281.
         10              282. Defendants admit that paragraph 282 includes partial quotations from the
         11        claims of the ’120 Patent. Except as expressly admitted, Defendants deny the remaining
         12        allegations in paragraph 282.
         13              283. Defendants deny the allegations in paragraph 283.
         14              284. Defendants admit that various claims of the ’120 Patent recite “electronic
         15        messages,” “message threads for silencing,” “the display of an electronic message in an
         16        inbox,” a “notification setting” related to a “notification pertaining to receipt of” a
         17        message, and associating a message with “one or more message threads.” Except as
         18        expressly admitted, Defendants deny the remaining allegations in paragraph 284.
         19              285. Defendants deny the allegations in paragraph 285.
         20                                        ’120 Patent Allegations
         21              286. Defendants deny the allegations in paragraph 286.
         22              287. Defendants deny the allegations in paragraph 287.
         23              288. Defendants deny the allegations in paragraph 288.
         24              289. Defendants deny the allegations in paragraph 289, and note that the Court
         25        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         26              290. Defendants admit that they have had knowledge of the ’120 patent since
         27        receiving the Complaint. Except as expressly admitted, Defendants deny the remaining
         28        allegations in paragraph 290, and note that the Court has dismissed BlackBerry’s pre-
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
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   PALO ALTO                                                                             2:18-CV-01844-GW
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            1      suit indirect infringement claims. (ECF No. 68.)
            2            291. Defendants deny the allegations in paragraph 291, and note that the Court
            3      has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
            4            292. Defendants deny the allegations in paragraph 292.
            5            293. Defendants admit that versions of Facebook Messenger, Facebook
            6      Messenger Lite, Facebook Workplace Chat, WhatsApp, and Instagram software
            7      applications are made available to users, including through the Apple App Store, and
            8      that Defendants make available instructions related to various aspects of the
            9      applications. Except as expressly admitted, Defendants deny the remaining allegations
         10        in paragraph 293, and note that the Court has dismissed BlackBerry’s pre-suit indirect
         11        infringement claims. (ECF No. 68.)
         12              294. Defendants deny the allegations in paragraph 294, and note that the Court
         13        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         14              295. Defendants deny the allegations in paragraph 295, and note that the Court
         15        has dismissed BlackBerry’s pre-suit indirect infringement claims. (ECF No. 68.)
         16              296. Defendants deny the allegations in paragraph 296, and note that the Court
         17        has dismissed BlackBerry’s pre-suit indirect infringement and willful infringement
         18        claims. (ECF No. 68.)
         19              297. Defendants deny the allegations in paragraph 297, and note that the Court
         20        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         21              298. Defendants deny the allegations in paragraph 298, and note that the Court
         22        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         23              299. Defendants deny the allegations in paragraph 299.
         24              300. Defendants deny the allegations in paragraph 300.
         25         COUNT VIII: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,296,351
         26              301. Defendants incorporate by reference their responses in the foregoing
         27        paragraphs.
         28
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                           35
   PALO ALTO                                                                             2:18-CV-01844-GW
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            1                                        The ’351 Patent
            2            302. Defendants admit that paragraph 302 includes partial quotations from the
            3      ’351 Patent’s Abstract. Except as expressly admitted, Defendants deny the remaining
            4      allegations in paragraph 302.
            5            303. Defendants admit that paragraph 303 includes partial quotations from the
            6      ’351 Patent. Except as expressly admitted, Defendants deny the remaining allegations
            7      in paragraph 303.
            8            304. Defendants admit that paragraph 304 appears to reproduce Figure 1 from
            9      the ’351 Patent, and also includes partial quotations and summarized statements from
         10        the ’351 Patent.    Except as expressly admitted, Defendants deny the remaining
         11        allegations in paragraph 304.
         12              305. Defendants admit that paragraph 305 includes a quotation from Claim 1 of
         13        the ’351 Patent.    Except as expressly admitted, Defendants deny the remaining
         14        allegations in paragraph 305.
         15                     The Alleged Inventions Claimed in the ’351 Patent Were
         16                     Alleged Not Well-Understood, Routine, or Conventional
         17              306. Defendants deny the allegations in paragraph 306.
         18              307. Defendants admit that paragraph 307 includes partial quotations from the
         19        ’351 Patent. Except as expressly admitted, Defendants deny the remaining allegations
         20        in paragraph 307.
         21              308. Defendants admit that paragraph 308 includes partial quotations from the
         22        claims of the ’351 Patent. Except as expressly admitted, Defendants deny the remaining
         23        allegations in paragraph 308.
         24              309. Defendants deny the allegations in paragraph 309.
         25              310. Defendants admit that various claims of the ’351 Patent recite a “proxy
         26        content server that receives information over computer network from an information
         27        source,” “wireless network,” and “mobile device.” Except as expressly admitted,
         28        Defendants deny the remaining allegations in paragraph 310.
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                           36
   PALO ALTO                                                                             2:18-CV-01844-GW
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            1            311. Defendants deny the allegations in paragraph 311.
            2                                     ’351 Patent Allegations
            3            312. Defendants deny the allegations in paragraph 312.
            4            313. Defendants deny the allegations in paragraph 313.
            5            314. Defendants deny the allegations in paragraph 314.
            6            315. Defendants admit that they have had knowledge of the ’351 Patent since
            7      receiving the FAC. Except as expressly admitted, Defendants deny the remaining
            8      allegations in paragraph 315, and note that the Court has dismissed BlackBerry’s claims
            9      for willful infringement. (ECF No. 68.)
         10              316. Defendants deny the allegations in paragraph 316, and note that the Court
         11        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         12              317. Defendants deny the allegations in paragraph 317, and note that the Court
         13        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         14              318. Defendants deny the allegations in paragraph 318, and note that the Court
         15        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         16              319. Defendants deny the allegations in paragraph 319, and note that the Court
         17        has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
         18              320. Defendants deny the allegations in paragraph 320.
         19              321. Defendants deny the allegations in paragraph 321.
         20          COUNT IX: ALLEGED INFRINGEMENT OF U.S. PATENT NO. 8,676,929
         21              322. Defendants incorporate by reference their responses in the foregoing
         22        paragraphs.
         23                                           The ’929 Patent
         24              323. Defendants admit that the ’929 Patent purports to have issued from a
         25        continuation application stemming from the application that gave rise to the ’351 Patent.
         26        Defendants admit that the ’929 Patent specification appears to be substantially identical
         27        to the specification of the ’351 Patent. Except as expressly admitted, Defendants deny
         28        the remaining allegations in paragraph 323.
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             37
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1             324. Defendants admit that paragraph 324 includes a quotation from Claim 1 of
            2      the ’929 Patent.    Except as expressly admitted, Defendants deny the remaining
            3      allegations in paragraph 324.
            4                   The Alleged Inventions Claimed in the ’929 Patent Were
            5                  Allegedly Not Well-Understood, Routine, or Conventional
            6             325. Defendants deny the allegations in paragraph 325.
            7             326. Defendants admit that paragraph 326 includes partial quotations from the
            8      claims of the ’929 Patent. Except as expressly admitted, Defendants deny the remaining
            9      allegations in paragraph 326.
         10               327. Defendants deny the allegations in paragraph 327.
         11               328. Defendants deny the allegations in paragraph 328.
         12               329. Defendants admit that various claims of the ’929 Patent recite “a server,”
         13        a “time triggering event,” a “wireless network,” a “mobile device” and a “meta tag.”
         14        Except as expressly admitted, Defendants deny the remaining allegations in paragraph
         15        329.
         16               330. Defendants deny the allegations in paragraph 330.
         17                                        ’929 Patent Allegations
         18               331. Defendants deny the allegations in paragraph 331.
         19               332. Defendants deny the allegations in paragraph 332.
         20               333. Defendants deny the allegations in paragraph 333.
         21               334. Defendants admit that they have had knowledge of the ’929 Patent since
         22        receiving the FAC. Except as expressly admitted, Defendants deny the remaining
         23        allegations in paragraph 334, and note that the Court has dismissed BlackBerry’s claims
         24        for willful infringement. (ECF No. 68.)
         25               335. Defendants admit that Facebook users may access Facebook’s advertising
         26        features, including via Facebook Watch and Facebook Live. Except as expressly
         27        admitted, Defendants deny the remaining allegations in paragraph 335, and note that
         28        the Court has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             38
   PALO ALTO                                                                             2:18-CV-01844-GW
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            1            336. Defendants deny the allegations in paragraph 336, and note that the Court
            2      has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
            3            337. Defendants deny the allegations in paragraph 337, and note that the Court
            4      has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
            5            338. Defendants deny the allegations in paragraph 338, and note that the Court
            6      has dismissed BlackBerry’s claims for willful infringement. (ECF No. 68.)
            7            339. Defendants deny the allegations in paragraph 339.
            8            340. Defendants deny the allegations in paragraph 340.
            9
         10                              RESPONSE TO PRAYER FOR RELIEF
         11              Defendants incorporate by reference all preceding paragraphs of this Answer as
         12        if fully set forth herein. Defendants deny any and all allegations of patent infringement
         13        alleged in the FAC. Defendants deny all allegations that Plaintiff is entitled to any relief
         14        requested in paragraphs “A” to “H” of the FAC’s Prayer for relief, or any other relief.
         15                                     AFFIRMATIVE DEFENSES
         16              Pursuant to Federal Rule of Civil Procedure 8(c), and without altering any
         17        applicable burdens of proof, Defendants assert the following defenses to the FAC and
         18        reserve their rights to assert additional defenses.
         19         FIRST DEFENSE – NON-INFRINGEMENT OF U.S. PATENT NO. 7,372,961
         20              Defendants do not infringe and have not infringed, directly or indirectly, any
         21        valid claim of the ’961 Patent.
         22             SECOND DEFENSE – INVALIDITY OF U.S. PATENT NO. 7,372,961
         23              All asserted claims of the ’961 Patent are invalid for failure to satisfy the
         24        conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to
         25        §§ 101, 102, 103, and/or 112.
         26         THIRD DEFENSE – NON-INFRINGEMENT OF U.S. PATENT NO. 8,209,634
         27              Defendants do not infringe and have not infringed, directly or indirectly, any
         28        valid claim of the ’634 Patent.
  COOLEY LLP
                                                                         RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                              39
   PALO ALTO                                                                                2:18-CV-01844-GW
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            1            FOURTH DEFENSE – INVALIDITY OF U.S. PATENT NO. 8,209,634
            2            All asserted claims of the ’634 Patent are invalid for failure to satisfy the
            3      conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to
            4      §§ 101, 102, 103, and/or 112.
            5       FIFTH DEFENSE – NON-INFRINGEMENT OF U.S. PATENT NO. 8,279,173
            6            Defendants do not infringe and have not infringed, directly or indirectly, any
            7      valid claim of the ’173 Patent.
            8             SIXTH DEFENSE – INVALIDITY OF U.S. PATENT NO. 8,279,173
            9            All asserted claims of the ’173 Patent are invalid for failure to satisfy the
         10        conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to
         11        §§ 101, 102, 103, and/or 112.
         12                       SEVENTH DEFENSE – NON-INFRINGEMENT OF
         13                                    U.S. PATENT NO. 8,301,713
         14              Defendants do not infringe and have not infringed, directly or indirectly, any
         15        valid claim of the ’713 Patent.
         16              EIGHTH DEFENSE – INVALIDITY OF U.S. PATENT NO. 8,301,713
         17              All asserted claims of the ’713 Patent are invalid for failure to satisfy the
         18        conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to
         19        §§ 101, 102, 103, and/or 112.
         20         NINTH DEFENSE – NON-INFRINGEMENT OF U.S. PATENT NO. 8,429,236
         21              Defendants do not infringe and have not infringed, directly or indirectly, any
         22        valid claim of the ’236 Patent.
         23              TENTH DEFENSE – INVALIDITY OF U.S. PATENT NO. 8,429,236
         24              All asserted claims of the ’236 Patent are invalid for failure to satisfy the
         25        conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to
         26        §§ 101, 102, 103, and/or 112.
         27        ///
         28        ///
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                           40
   PALO ALTO                                                                             2:18-CV-01844-GW
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            1                    ELEVENTH DEFENSE – NON-INFRINGEMENT OF
            2                                  U.S. PATENT NO. 8,677,250
            3            Defendants do not infringe and have not infringed, directly or indirectly, any
            4      valid claim of the ’250 Patent.
            5         TWELVETH DEFENSE – INVALIDITY OF U.S. PATENT NO. 8,677,250
            6            All asserted claims of the ’250 Patent are invalid for failure to satisfy the
            7      conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to
            8      §§ 101, 102, 103, and/or 112.
            9                  THIRTEENTH DEFENSE – NON-INFRINGEMENT OF
         10                                    U.S. PATENT NO. 9,349,120
         11              Defendants do not infringe and have not infringed, directly or indirectly, any
         12        valid claim of the ’120 Patent.
         13         FOURTEENTH DEFENSE – INVALIDITY OF U.S. PATENT NO. 9,349,120
         14              All asserted claims of the ’120 Patent are invalid for failure to satisfy the
         15        conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to
         16        §§ 101, 102, 103, and/or 112.
         17                     FIFTEENTH DEFENSE – NON-INFRINGEMENT OF
         18                                    U.S. PATENT NO. 8,296,351
         19              Defendants do not infringe and have not infringed, directly or indirectly, any
         20        valid claim of the ’351 Patent.
         21           SIXTEENTH DEFENSE – INVALIDITY OF U.S. PATENT NO. 8,296,351
         22              All asserted claims of the ’351 Patent are invalid for failure to satisfy the
         23        conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to
         24        §§ 101, 102, 103, and/or 112.
         25                   SEVENTEENTH DEFENSE – NON-INFRINGEMENT OF
         26                                    U.S. PATENT NO. 8,676,929
         27              Defendants do not infringe and have not infringed, directly or indirectly, any
         28        valid claim of the ’929 Patent.
  COOLEY LLP
                                                                      RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                           41
   PALO ALTO                                                                             2:18-CV-01844-GW
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            1        EIGHTEENTH DEFENSE – INVALIDITY OF U.S. PATENT NO. 8,676,929
            2               All asserted claims of the ’929 Patent are invalid for failure to satisfy the
            3      conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to
            4      §§ 101, 102, 103, and/or 112.
            5                  NINETEENTH DEFENSE – FAILURE TO STATE A CLAIM
            6               The FAC fails to state a claim upon which relief can be granted.
            7                      TWENTIETH DEFENSE – EQUITABLE DEFENSES
            8               Plaintiff’s claims are barred, in whole or in part, by estoppel, acquiescence,
            9      waiver, unclean hands, and/or other equitable defenses.
         10                 TWENTY-FIRST DEFENSE – EXPRESS OR IMPLIED LICENSE
         11                 Plaintiff’s claims are barred, in whole or in part, express license agreements
         12        and/or under the doctrine of implied license.
         13                  TWENTY-SECOND DEFENSE – LIMITATION ON DAMAGES
         14                 Plaintiff’s claims for costs and/or damages are barred, in whole or in part, by
         15        35 U.S.C. §§ 41(b), 286 and/or 288 and 37 C.F.R. § 1.362.
         16                        TWENTY-THIRD DEFENSE – FAILURE TO MARK
         17                 Plaintiff is barred from recovering damages for any alleged patent infringement
         18        because Plaintiff has made, offered for sale, or sold within the United States a patented
         19        article without giving proper notice to the public that the same is patented. 35 U.S.C.
         20        § 287.
         21                    TWENTY-FOURTH DEFENSE – NO INJUNCTIVE RELIEF
         22                 Plaintiff’s demand to enjoin Defendants is barred, as Plaintiff has suffered neither
         23        harm nor irreparable harm from Defendants’ actions.
         24                                      RESERVATION OF RIGHTS
         25                 Defendants hereby reserve the right to amend their Answer and reserves all
         26        defenses set out in Rule 8(c) of the Federal Rules of Civil Procedure, the Patent Laws
         27        of the United States, and any other defenses, at law or in equity, which become
         28        applicable after the substantial completion of discovery or otherwise in the course of
  COOLEY LLP
                                                                           RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                                42
   PALO ALTO                                                                                  2:18-CV-01844-GW
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            1      litigation.
            2                                       COUNTERCLAIMS
            3             Defendants and Counterclaimants Facebook, Inc. (“Facebook”), Instagram, LLC
            4      (“Instagram, LLC”), and WhatsApp, Inc. (“WhatsApp”), by and through their
            5      undersigned counsel, hereby allege the following counterclaims against Plaintiff and
            6      Counterclaim-Defendant BlackBerry Limited (“BlackBerry”):
            7                                          THE PARTIES
            8             1.     Facebook is a corporation organized and existing under the laws of the
            9      State of Delaware, having a principal place of business at 1601 Willow Road, Menlo
         10        Park, CA, 94025.
         11               2.     Instagram, LLC is a limited liability company existing under the laws of
         12        the State of Delaware, having a principal place of business at 1601 Willow Road, Menlo
         13        Park, CA, 94025.
         14               3.     WhatsApp, Inc. is a corporation organized and existing under the laws of
         15        the State of Delaware, having a principal place of business at 1601 Willow Road, Menlo
         16        Park, CA, 94025.
         17                                   JURISDICTION AND VENUE
         18               4.     This is a civil action regarding allegations of patent infringement arising
         19        under the patent laws of the United States, Title 35 of the United States Code, in which
         20        Counterclaimants seek relief under the Declaratory Judgment Act. This Court has
         21        subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1338, 2201
         22        and 2202.
         23               5.     The Court has personal jurisdiction and venue over BlackBerry because it
         24        consented to personal jurisdiction and venue by filing the Complaint in this action.
         25                                               COUNT 1
         26         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 7,372,961
         27               6.     Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         28        1 through 5 as though fully set forth herein.
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             43
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1            7.     BlackBerry claims to be owner of all right, title, and interest in the ’961
            2      Patent.
            3            8.     BlackBerry has accused Counterclaimant Facebook of infringement of the
            4      ’961 Patent. BlackBerry has created a substantial, immediate, and real controversy
            5      between the parties as to the infringement of the ’961 Patent.
            6            9.     Counterclaimant Facebook has not infringed and currently does not
            7      infringe any asserted claim of the ’961 Patent directly, indirectly, by inducement, or in
            8      any other manner.
            9            10.    BlackBerry is entitled to no relief.
         10
         11                                               COUNT 2
         12              DECLARATION OF INVALIDITY OF U.S. PATENT NO. 7,372,961
         13              11.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         14        1 through 5 as though fully set forth herein.
         15              12.    BlackBerry contends that the asserted claims of the ’961 Patent are valid
         16        and enforceable. BlackBerry has created a substantial, immediate, and real controversy
         17        between the parties as to the invalidity of the asserted claims of the ’961 Patent.
         18              13.    Each asserted claim of the ’961 Patent is invalid for failure to comply with
         19        one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112.
         20              14.    BlackBerry is entitled to no relief.
         21                                               COUNT 3
         22        DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 8,209,634
         23              15.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         24        1 through 5 as though fully set forth herein.
         25              16.    BlackBerry claims to be owner of all right, title, and interest in the ’634
         26        Patent.
         27              17.    BlackBerry has accused Counterclaimants Facebook, WhatsApp, and
         28        Instagram, LLC of infringement of the ’634 Patent. BlackBerry has created a
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             44
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1      substantial, immediate, and real controversy between the parties as to the infringement
            2      of the ’634 Patent.
            3            18.    Counterclaimants Facebook, WhatsApp, and Instagram, LLC have not
            4      infringed and currently do not infringe any asserted claim of the ’634 Patent directly,
            5      indirectly, by inducement, or in any other manner.
            6            19.    BlackBerry is entitled to no relief.
            7                                             COUNT 4
            8            DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,209,634
            9            20.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         10        1 through 5 as though fully set forth herein.
         11              21.    BlackBerry contends that the asserted claims of the ’634 Patent are valid
         12        and enforceable. BlackBerry has created a substantial, immediate, and real controversy
         13        between the parties as to the invalidity of the asserted claims of the ’634 Patent.
         14              22.    Each asserted claim of the ’634 Patent is invalid for failure to comply with
         15        one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112.
         16              23.    BlackBerry is entitled to no relief.
         17                                               COUNT 5
         18        DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 8,279,173
         19              24.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         20        1 through 5 as though fully set forth herein.
         21              25.    BlackBerry claims to be owner of all right, title, and interest in the ’173
         22        Patent.
         23              26.    BlackBerry has accused Counterclaimants Facebook and Instagram, LLC
         24        of infringement of the ’173 Patent. BlackBerry has created a substantial, immediate,
         25        and real controversy between the parties as to the infringement of the ’173 Patent.
         26              27.    Counterclaimants Facebook and Instagram, LLC have not infringed and
         27        currently do not infringe any asserted claim of the ’173 Patent directly, indirectly, by
         28        inducement, or in any other manner.
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             45
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1            28.    BlackBerry is entitled to no relief.
            2                                             COUNT 6
            3            DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,279,173
            4            29.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
            5      1 through 5 as though fully set forth herein.
            6            30.    BlackBerry contends that the asserted claims of the ’173 Patent are valid
            7      and enforceable. BlackBerry has created a substantial, immediate, and real controversy
            8      between the parties as to the invalidity of the asserted claims of the ’173 Patent.
            9            31.    Each asserted claim of the ’173 Patent is invalid for failure to comply with
         10        one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112.
         11              32.    BlackBerry is entitled to no relief.
         12                                               COUNT 7
         13        DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 8,301,713
         14              33.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         15        1 through 5 as though fully set forth herein.
         16              34.    BlackBerry claims to be owner of all right, title, and interest in the ’713
         17        Patent.
         18              35.    BlackBerry has accused Counterclaimants Facebook, WhatsApp, and
         19        Instagram, LLC of infringement of the ’713 Patent. BlackBerry has created a
         20        substantial, immediate, and real controversy between the parties as to the infringement
         21        of the ’713 Patent.
         22              36.    Counterclaimants Facebook, WhatsApp, and Instagram, LLC have not
         23        infringed and currently do not infringe any asserted claim of the ’713 Patent directly,
         24        indirectly, by inducement, or in any other manner.
         25              37.    BlackBerry is entitled to no relief.
         26        ///
         27        ///
         28        ///
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             46
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1                                             COUNT 8
            2            DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,301,713
            3            38.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
            4      1 through 5 as though fully set forth herein.
            5            39.    BlackBerry contends that the asserted claims of the ’713 Patent are valid
            6      and enforceable. BlackBerry has created a substantial, immediate, and real controversy
            7      between the parties as to the invalidity of the asserted claims of the ’713 Patent.
            8            40.    Each asserted claim of the ’713 Patent is invalid for failure to comply with
            9      one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112.
         10              41.    BlackBerry is entitled to no relief.
         11                                               COUNT 9
         12        DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 8,429,236
         13              42.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         14        1 through 5 as though fully set forth herein.
         15              43.    BlackBerry claims to be owner of all right, title, and interest in the ’236
         16        Patent.
         17              44.    BlackBerry has accused Counterclaimants Facebook and WhatsApp of
         18        infringement of the ’236 Patent. BlackBerry has created a substantial, immediate, and
         19        real controversy between the parties as to the infringement of the ’236 Patent.
         20              45.    Counterclaimants Facebook and WhatsApp have not infringed and
         21        currently do not infringe any asserted claim of the ’236 Patent directly, indirectly, by
         22        inducement, or in any other manner.
         23              46.    BlackBerry is entitled to no relief.
         24                                              COUNT 10
         25              DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,429,236
         26              47.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         27        1 through 5 as though fully set forth herein.
         28              48.    BlackBerry contends that the asserted claims of the ’236 Patent are valid
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             47
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1      and enforceable. BlackBerry has created a substantial, immediate, and real controversy
            2      between the parties as to the invalidity of the asserted claims of the ’236 Patent.
            3            49.    Each asserted claim of the ’236 Patent is invalid for failure to comply with
            4      one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112.
            5            50.    BlackBerry is entitled to no relief.
            6                                            COUNT 11
            7      DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 8,677,250
            8            51.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
            9      1 through 5 as though fully set forth herein.
         10              52.    BlackBerry claims to be owner of all right, title, and interest in the ’250
         11        Patent.
         12              53.    BlackBerry has accused Counterclaimant Facebook of infringement of the
         13        ’250 Patent. BlackBerry has created a substantial, immediate, and real controversy
         14        between the parties as to the infringement of the ’250 Patent.
         15              54.    Counterclaimant Facebook has not infringed and currently does not
         16        infringe any asserted claim of the ’250 Patent directly, indirectly, by inducement, or in
         17        any other manner.
         18              55.    BlackBerry is entitled to no relief.
         19                                              COUNT 12
         20              DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,677,250
         21              56.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         22        1 through 5 as though fully set forth herein.
         23              57.    BlackBerry contends that the asserted claims of the ’250 Patent are valid
         24        and enforceable. BlackBerry has created a substantial, immediate, and real controversy
         25        between the parties as to the invalidity of the asserted claims of the ’250 Patent.
         26              58.    Each asserted claim of the ’250 Patent is invalid for failure to comply with
         27        one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112.
         28              59.    BlackBerry is entitled to no relief.
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             48
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1                                            COUNT 13
            2      DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 9,349,120
            3            60.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
            4      1 through 5 as though fully set forth herein.
            5            61.    BlackBerry claims to be owner of all right, title, and interest in the ’120
            6      Patent.
            7            62.    BlackBerry has accused Counterclaimants Facebook, Instagram, LLC, and
            8      WhatsApp of infringement of the ’120 Patent. BlackBerry has created a substantial,
            9      immediate, and real controversy between the parties as to the infringement of the ’120
         10        Patent.
         11              63.    Counterclaimants Facebook, Instagram, LLC, and WhatsApp have not
         12        infringed and currently do not infringe any asserted claim of the ’120 Patent directly,
         13        indirectly, by inducement, or in any other manner.
         14              64.    BlackBerry is entitled to no relief.
         15                                              COUNT 14
         16              DECLARATION OF INVALIDITY OF U.S. PATENT NO. 9,349,120
         17              65.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         18        1 through 5 as though fully set forth herein.
         19              66.    BlackBerry contends that the asserted claims of the ’120 Patent are valid
         20        and enforceable. BlackBerry has created a substantial, immediate, and real controversy
         21        between the parties as to the invalidity of the asserted claims of the ’120 Patent.
         22              67.    Each asserted claim of the ’120 Patent is invalid for failure to comply with
         23        one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112.
         24              68.    BlackBerry is entitled to no relief.
         25                                              COUNT 15
         26        DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 8,269,351
         27              69.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         28        1 through 5 as though fully set forth herein.
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             49
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1            70.    BlackBerry claims to be owner of all right, title, and interest in the ’351
            2      Patent.
            3            71.    BlackBerry has accused Counterclaimants Facebook and Instagram, LLC
            4      of infringement of the ’351 Patent. BlackBerry has created a substantial, immediate,
            5      and real controversy between the parties as to the infringement of the ’351 Patent.
            6            72.    Counterclaimants Facebook and Instagram, LLC have not infringed and
            7      currently do not infringe any asserted claim of the ’351 Patent directly, indirectly, by
            8      inducement, or in any other manner.
            9            73.    BlackBerry is entitled to no relief.
         10                                              COUNT 16
         11              DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,269,351
         12              74.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         13        1 through 5 as though fully set forth herein.
         14              75.    BlackBerry contends that the asserted claims of the ’351 Patent are valid
         15        and enforceable. BlackBerry has created a substantial, immediate, and real controversy
         16        between the parties as to the invalidity of the asserted claims of the ’351 Patent.
         17              76.    Each asserted claim of the ’351 Patent is invalid for failure to comply with
         18        one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112.
         19              77.    BlackBerry is entitled to no relief.
         20                                              COUNT 17
         21        DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 8,676,929
         22              78.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
         23        1 through 5 as though fully set forth herein.
         24              79.    BlackBerry claims to be owner of all right, title, and interest in the ’929
         25        Patent.
         26              80.    BlackBerry has accused Counterclaimants Facebook and Instagram, LLC
         27        of infringement of the ’929 Patent. BlackBerry has created a substantial, immediate,
         28        and real controversy between the parties as to the infringement of the ’929 Patent.
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                             50
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1            81.    Counterclaimants Facebook and Instagram, LLC have not infringed and
            2      currently do not infringe any asserted claim of the ’929 Patent directly, indirectly, by
            3      inducement, or in any other manner.
            4            82.    BlackBerry is entitled to no relief.
            5                                             COUNT 18
            6            DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,676,929
            7            83.    Counterclaimants incorporate their allegations in Counterclaim Paragraphs
            8      1 through 5 as though fully set forth herein.
            9            84.    BlackBerry contends that the asserted claims of the ’929 Patent are valid
         10        and enforceable. BlackBerry has created a substantial, immediate, and real controversy
         11        between the parties as to the invalidity of the asserted claims of the ’929 Patent.
         12              85.    Each asserted claim of the ’929 Patent is invalid for failure to comply with
         13        one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112.
         14              86.    BlackBerry is entitled to no relief.
         15                                        PRAYER FOR RELIEF
         16              WHEREFORE, Defendants pray that this Court enter judgment:
         17              A.     In favor of Defendants, and against Plaintiff, thereby dismissing Plaintiff’s
         18        FAC in its entirety, with prejudice, with Plaintiff taking nothing by way of its claims;
         19              B.     Declaring and adjudging that Defendants have not infringed, and are not
         20        now infringing any valid claim of the asserted patents, under any subsection of 35
         21        U.S.C. § 271;
         22              C.     Declaring and adjudging that all asserted claims of the asserted patents are
         23        invalid and/or unenforceable;
         24              D.     That this case stands out from others and as such is an exceptional case
         25        pursuant to 35 U.S.C. § 285 and ordering Plaintiff to pay Defendants’ reasonable
         26        attorneys’ fees incurred in this action;
         27              E.     That Plaintiff pay all costs incurred by Defendants in this action; and
         28        awarding Defendants all other relief that the Court deems just and proper.
  COOLEY LLP
                                                                        RESPONSE TO FIRST AMENDED COMPLAINT
ATTORNEYS AT LAW
                                                              51
   PALO ALTO                                                                               2:18-CV-01844-GW
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            1                                 DEMAND FOR JURY TRIAL
            2           Defendants respectfully request a trial by jury on all issues so triable.
            3
                   Dated: September 4, 2018               COOLEY LLP
            4
            5
                                                          /s/ Heidi L. Keefe
            6                                             Heidi L. Keefe
            7
                                                          COOLEY LLP
            8                                             HEIDI L. KEEFE (178960)
                                                          (hkeefe@cooley.com)
            9
                                                          MARK R. WEINSTEIN (193043)
         10                                               (mweinstein@cooley.com)
                                                          MATTHEW J. BRIGHAM (191428)
         11
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         12                                               LOWELL D. MEAD (223989)
                                                          (lmead@cooley.com)
         13
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   PALO ALTO                                                                              2:18-CV-01844-GW
